     Case 8:20-cv-00048-JVS-JDE Document 1535 Filed 04/04/23 Page 1 of 3 Page ID
                                     #:144619



1      Joseph R. Re (Bar No. 134479)
       joseph.re@knobbe.com
2      Stephen C. Jensen (Bar No. 149894)
       steve.jensen@knobbe.com
3      Sheila N. Swaroop (Bar No. 203476)
       sheila.swaroop@knobbe.com
4      Irfan A. Lateef (Bar No. 204004)
       irfan.lateef@knobbe.com
5      Benjamin A. Katzenellenbogen (Bar No.
       208527)
6      ben.katzenellenbogen@knobbe.com
       Brian C. Claassen (Bar No. 253627)
7      brian.claassen@knobbe.com
       Stephen W. Larson (Bar No. 240844)
8      stephen.larson@knobbe.com
       Kendall M. Loebbaka (Bar No. 285908)
9      kendall.loebbaka@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP
10     2040 Main Street, Fourteenth Floor
       Irvine, CA 92614
11     Phone: (949) 760-0404
       Fax: (949) 760-9502
12
       Adam B. Powell (Bar. No. 272725)          Brian C. Horne (Bar No. 205621)
13     adam.powell@knobbe.com                    brian.horne@knobbe.com
       Daniel P. Hughes (Bar No. 299695)         Mark D. Kachner (Bar No. 234192)
14     daniel.hughes@knobbe.com                  mark.kachner@knobbe.com
       KNOBBE, MARTENS, OLSON & BEAR, LLP        KNOBBE, MARTENS, OLSON & BEAR, LLP
15     3579 Valley Centre Drive                  1925 Century Park East, Suite 600
       San Diego, CA 92130                       Los Angeles, CA 90067
16     Phone: (858) 707-4000                     Phone: (310) 551-3450
       Fax: (858) 707-4001                       Fax: (310) 551-3458
17
       Attorneys for Plaintiffs,
18     MASIMO CORPORATION and CERCACOR LABORATORIES, INC.
19                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
20                              SOUTHERN DIVISION
21      MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
        a Delaware corporation; and            )
22      CERCACOR LABORATORIES, INC.,           )
        a Delaware corporation                 ) MASIMO’S FIRST VOLUME OF
23                                             ) DEPOSITION DESIGNATIONS
                    Plaintiffs,                )
24                                             )
              v.                               ) Hon. James V. Selna
25                                             )
        APPLE INC., a California corporation   )
26                                             )
                    Defendant.                 )
27                                             )
                                               )
28
     Case 8:20-cv-00048-JVS-JDE Document 1535 Filed 04/04/23 Page 2 of 3 Page ID
                                     #:144620



1            Pursuant to the Stipulations for Trial in the Pretrial Conference Order, Masimo
2      Corporation and Cercacor Laboratories, Inc. (jointly “Masimo”) submit their First
3      Volume of Deposition Designations. Attached hereto are transcript clip reports and
4      indexes for the first volume of depositions that Masimo seeks to play at trial. The
5      transcript clip reports and indexes indicate designations and objections, if any, for
6      Masimo and Defendant Apple, Inc. (collectively, “the Parties”).
7            The Parties do not have objections to the designations of the following witnesses:
8               1.    Robert Mansfield (see Exhibits A and B)
9               2.    David Tom (see Exhibits C and D)
10           The Parties have unresolved objections to the deposition designations of the
11     following witnesses:
12              1.    Eugene Kim (see Exhibits E and F)
13              2.    Denby Sellers, June 2022 Deposition (see Exhibits G and H)
14              3.    Denby Sellers, December 2021 Deposition (see Exhibits I and J)
15              4.    Jeff Williams (see Exhibits K and L)
16           If time permits and the Parties’ objections are resolved, Masimo expects to play
17     one or more of the above depositions on Wednesday, April 5.
18                                              Respectfully submitted,
19                                              KNOBBE, MARTENS, OLSON & BEAR, LLP
20
       Dated: April 4, 2023                     By: /s/ Kendall M. Loebbaka
21                                                   Joseph R. Re
                                                     Stephen C. Jensen
22                                                   Sheila N. Swaroop
                                                     Brian C. Horne
23                                                   Irfan A. Lateef
                                                     Benjamin A. Katzenellenbogen
24                                                   Brian C. Claassen
                                                     Stephen W. Larson
25                                                   Mark D. Kachner
                                                     Adam B. Powell
26                                                   Kendall M. Loebbaka
                                                     Daniel P. Hughes
27
                                                       Attorneys for Plaintiffs
28

                                                 -1-
     Case 8:20-cv-00048-JVS-JDE Document 1535 Filed 04/04/23 Page 3 of 3 Page ID
                                     #:144621



1                                                  MASIMO CORPORATION and
                                                   CERCACOR LABORATORIES, INC.
2
3      57406621


4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                             -2-
